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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

         v.
                                                            Criminal Action No. 22-cr-183 (TSC)
 LYNNWOOD NESTER,

                 Defendant.


                                    OPINION AND ORDER

       Before the court is Lynnwood Nester’s opposed Motion for Change of Plea, ECF No. 110

(“Motion”). Nester seeks to plead nolo contendere to four misdemeanor counts charged in the

Information related to his participation in the January 6, 2021 riot at the U.S. Capitol. Mot. at 1.

For the reasons set forth below, the court DENIES the motion.

                                     I.     BACKGROUND

       Nester and two co-defendants were charged with Entering and Remaining in a Restricted

Building, in violation of 18 U.S.C. § 1752(a)(1); Disorderly and Disruptive Conduct in a

Restricted Building, in violation of 18 U.S.C. § 1752(a)(2); Violent Entry and Disorderly

Conduct in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(D); and Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G).

Information, ECF No. 14. Nester’s co-defendants each pleaded guilty to one count of Parading,

Demonstrating, or Picketing in a Capitol Building and were sentenced to 21 and 30 days

incarceration, respectively. Plea Agreement as to Brian Korte, United States v. Korte, No. 22-cr-

183-1 (D.D.C. Mar. 24, 2023), ECF No. 63; Plea Agreement as to Michael Pomeroy, United

States v. Korte, No. 22-cr-183-3 (D.D.C. Feb. 8, 2023), ECF No. 57; Judgment as to Brian Korte

at 2, United States v. Korte, No. 22-cr-183-1 (D.D.C. Aug. 9, 2023), ECF No. 88; Judgment as to

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Michael Pomeroy at 2, United States v. Korte, No. 22-cr-183-3 (D.D.C. May 23, 2023), ECF No.

74.

        Nester elected to proceed to trial, which had been scheduled for October 17, 2023.

Defense counsel notified the government and the court late Sunday, October 15, 2023 that Nester

wished to plead guilty to the Information. Defense counsel clarified on Monday, October 16,

2023 that Nester wished to enter a plea of nolo contendere to the Information, to which the

government objected. The court vacated the trial date and set a briefing schedule, directing

Nester to address the standard governing the court’s decision to accept a nolo plea, the factors to

be considered, and whether allowing the plea would serve the public interest in the effective

administration of justice. The court directed the government’s response to address the same

issues, as well as the grounds for opposing the plea and whether courts in this district have

accepted a nolo contendere plea under similar circumstances. Oct. 17, 2023 Minute Order.

                                    II.     LEGAL STANDARD

        A plea of nolo contendere is “viewed not as an express admission of guilt but as a

consent by the defendant that he may be punished as if he were guilty and a prayer for leniency.”

North Carolina v. Alford, 400 U.S. 25, 36 n.8 (1970). Federal Rule of Criminal Procedure 11

preserves the distinction between guilty pleas and pleas of nolo contendere in that it requires the

court to reject a guilty plea “unless it is satisfied that there is a factual basis for the plea,” without

imposing the same requirement for a nolo plea. Id. (citation omitted); compare Fed. R. Crim. P.

11(b)(1)–(2) (directing the court to address the defendant in open court and inform him of certain

topics “[b]efore the court accepts a plea of guilty or nolo contendere”) (emphasis added), with

Fed. R. Crim. P. 11(b)(3) (directing the court to determine the factual basis for a plea “[b]efore

entering judgment on a guilty plea”).



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       Rule 11 provides that a “defendant may plead not guilty, guilty, or (with the court’s

consent) nolo contendere.” Fed. R. Crim. P. 11(a)(1). The Rule “clearly indicates that a criminal

defendant has no absolute right to plead nolo contendere,” and instead may enter a nolo plea only

with the consent of the court. United States v. Bearden, 274 F.3d 1031, 1035 (6th Cir. 2001).

“The circuits that have considered this issue have generally held that a district court possesses

wide discretion whether to accept a plea of nolo contendere.” Id. (collecting cases). However,

“[b]efore accepting a plea of nolo contendere, the court must consider the parties’ views and the

public interest in the effective administration of justice.” Fed. R. Crim. P. 11(a)(3). “Rule 11 is

silent with respect to what, if anything, the court must consider before rejecting a plea of nolo

contendere.” United States v. Buonocore, 416 F.3d 1124, 1130 (10th Cir. 2005).

       Beyond the mandatory considerations above, the Advisory Committee Notes to Rule 11

observe that “[t]he factors considered relevant by particular courts in determining whether to

permit the plea of nolo contendere vary.” Fed. R. Crim. P. 11 advisory committee’s note to 1974

amendment. Those factors have included: 1) the defendant’s role in the violation, including any

mitigating circumstances; 2) the culpability of the defendant tendering a nolo plea relative to any

co-defendants; 3) the deterrent effect of a no contest plea as compared to a guilty plea; and 4) the

conservation of judicial resources. See United States v. Cota, No. 08-cr-160-SI, 2008 WL

4531804, at *1 (N.D. Cal. Oct. 7, 2008) (citing, inter alia, United States v. Baltimore and Ohio

R.R., 543 F. Supp. 821, 822 (D.D.C. 1982)); United States v. Bowser, No. 12-cr-102-TWP, 2013

WL 4736244, at *2 (S.D. Ind. Sept. 3, 2013). The Circuits that have considered the question

largely agree that a district court does not abuse its discretion in rejecting a nolo plea where the

government objects to the plea. See Bearden, 274 F.3d at 1036 (“Moreover, the government

objected to the proffered nolo plea in the present case, and the district court would have been



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within its discretion had it rejected [defendant’s] nolo plea on that basis.”); United States v.

David E. Thompson, Inc., 621 F.2d 1147, 1150 (1st Cir. 1980) (“We know of no case in which

an appeals court reversed a district court’s refusal to accept a plea of nolo not supported by the

prosecution.”); see also Commonwealth Edison Co. v. Allis-Chalmers Mfg. Co., 323 F.2d 412,

415 (7th Cir. 1963) (“And in practice pleas of nolo contendere are rarely accepted by courts

without the approval of the Government after compromise negotiations with the Government.”).

       Over fifty years ago, our Circuit observed that a plea of nolo contendere is “rarely used.”

Bruce v. United States, 379 F.2d 113, 120 n.20 (D.C. Cir. 1967). That continues to be the case.

In the half-century since Bruce, it appears that nolo pleas have been accepted only in a handful of

cases, primarily in antitrust matters on behalf of corporate defendants. See, e.g., United States v.

Bessemer & Lake Erie R. Co., 717 F.2d 593, 597 (D.C. Cir. 1983); Baltimore & Ohio R.R., 543

F. Supp. at 822; see also United States v. Meyer, 346 F. Supp. 973, 975 n.1 (D.D.C. 1972)

(referencing two members of the “D.C. Nine” who pled nolo contendere). Neither side has

pointed to a single January 6-related case in which a defendant has entered a nolo contendere

plea, and the court is aware of none. Opp. at 6, ECF No. 111.

                                        III.      ANALYSIS

A.     The Parties’ Views

       Nester asks the court to accept his plea because there are mitigating circumstances, he is

willing “to accept the Government’s proffer to the elements of the offenses,” and a nolo plea will

save time and tax dollars by avoiding a trial. Mot. at 6–7. The mitigating circumstances include

Nester’s lack of criminal history, the relatively brief time he spent inside the Capitol building,

and the de minimis nature of his conduct inside. Id. at 6. Nester also urges “consideration of

[his] state of mind as to the specific intent requirement of certain of the offenses,” and his

willingness “to admit, under oath, that he specifically intended certain actions and knew the
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existence of certain facts that he did not at the time of the offense.” Id. at 7. And he contends

that any trial would waste time and taxpayer money because its outcome is a “foregone

conclusion.” Id. Nester also claims his decision to testify could “unfairly subject him to an

enhancement at sentencing” were he to testify about why he believed his conduct was

permissible. Id.

       The government contends that Nester’s conduct was not de minimis where his presence

and the presence of any rioter inside the Capitol “meant that Congress could not reconvene to

continue its constitutionally prescribed function of certifying the electoral college count.” Opp.

at 7. The government argues that a nolo plea would provide inadequate specific and general

deterrence for future crimes because Nester’s continued denial that he “intended certain actions

and knew the existence of certain facts” diminishes the impact of specific deterrence, id., and

because nolo pleas do not serve the same general deterrence effects as a guilty plea or trial

verdict, id. at 4, 6. And the government notes that avoiding a trial at this late stage—after the

defendant indicated his desire to plead nolo the day before jury selection—would not conserve

the parties’ resources where the government and the court have already invested substantial

resources in preparing Nester’s case for trial. Id. at 7.

B.     Public Interest in the Administration of Justice

       The government contends a plea of nolo contendere would not be in the public interest

given the “false narratives and misinformation” surrounding the events of January 6. Id. at 6. It

argues that a nolo plea would allow Nester to plead to the charges but avoid a colloquy

establishing the predicate facts of his offenses— an outcome that is not equivalent to a jury

finding that the government has met its burden or Nester’s admission of the facts in open court

and acknowledgment that his acts violated the law. Id. at 5. The government argues that

Nester’s desire to plead nolo to charges he still denies—pointing to his unwillingness “to admit,
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under oath, that he specifically intended certain actions and knew the existence of certain facts”

at the time of the offense—shows that Nester “has not recognized, acknowledged, or accepted

that he is in fact guilty of the charged offenses.” Id. at 7; Mot. at 7. In the government’s view,

accepting a nolo plea under these circumstances would allow Nester to continue the false

narrative that he did nothing wrong and deprive the public of a record of the facts underlying his

criminal prosecution and his admission of guilt under those facts. Opp. at 5–6.

       Nester counters that the government does not seek to serve the public interest but instead

to “control” and correct the narrative surrounding January 6, which does not serve the effective

administration of justice. Reply at 5, ECF No. 112. He argues that public trust in the judicial

system will not be eroded where his willingness to “accept responsibility in the form of

accepting punishment for his actions” suffices to serve the public interest and establish specific

and general deterrence for future crimes. Id. at 5–6.

       The government’s arguments against acceptance of a nolo contendere plea are more

compelling. As it notes, reaffirming public trust in the rule of law and the criminal justice

system is “paramount in the context of January 6 cases.” Opp. at 6. Nester has not explained

why he, unlike hundreds of January 6 defendants before him, should avoid a trial that tests the

government’s evidence regarding his mens rea and refuse to admit that his actions violated the

law. While Nester is correct that a nolo contendere plea “admits to every essential element of the

offense that is well pleaded in the indictment,” Bessemer, 717 F.2d at 597, there is significant

daylight between the Information’s allegations and the lengthy factual recitations in Nester’s co-

defendants’ Statements of Offense entered with their guilty pleas. See Statement of Offense as to

Brian Korte, United States v. Korte, No. 22-cr-183-1 (D.D.C. Mar. 24, 2023), ECF No. 62;




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Statement of Offense as to Michael Pomeroy, United States v. Korte, No. 22-cr-183-3 (D.D.C.

Feb. 8, 2023), ECF No. 56.

       Moreover, Nester’s co-defendants admitted their guilt unreservedly after lengthy Rule 11

plea colloquies. Nester’s citations to Lott v. United States do not change the fact that while a

nolo plea “is tantamount to an admission of guilt” for the purpose of punishment, entry of a nolo

plea specifically preserves the defendant’s ability to deny that he committed each and every act

the government charged, as Nester appears to do here. 367 U.S. 421, 426 (1961) (citation

omitted); cf. United States v. De Jesus Ventura, 565 F.3d 870, 879 (D.C. Cir. 2009) (“Indeed, the

judge might have inferred that Ventura was pleading nolo contendere because he had violated the

abduction statute but had not done all that the government alleged.”). That outcome is not

warranted and does not serve the public interest in the administration of justice. If Nester

maintains that he did not possess the requisite mens rea to have committed the offenses for

which he is charged, he can put the government’s proof to the test at trial. Or, like his co-

defendants, he can accept culpability for the acts with which he is charged and acknowledge that

his mens rea and actions on January 6 violated the law.

C.     Remaining Factors

       Of the remaining factors—1) the defendant’s role and any mitigating circumstances; 2)

the defendant’s culpability relative to any codefendants; 3) the deterrent effect of a no contest

plea as compared to a guilty plea; and 4) the conservation of judicial resources—the first two

weigh against entry of a nolo plea. The court does not consider the absence of violent behavior a

mitigating circumstance (indeed, had Nester engaged in violence he would likely have been

charged with at least one felony) and agrees with the government that Nester’s presence in the

Capitol and his participation in the events which led to halting certification of the 2024 election

results was not de minimis. And the Complaint does not indicate that Nester’s conduct was less
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egregious than that of his co-defendants. See ECF No. 1. To the extent a nolo plea would

minimize the seriousness of the offenses Nester allegedly committed, these factors weigh against

its acceptance.

       With respect to the third factor—the deterrent effect of a no contest plea as compared to a

guilty plea—other Circuits have noted that the “public might well not understand or accept the

fact that a defendant who denied his guilt was nonetheless placed in a position of pleading guilty

and going to jail.” United States v. Bednarski, 445 F.2d 364, 366 (1st Cir. 1971) (discussing an

Alford plea, a guilty plea in which a defendant maintains his innocence despite a factual basis for

the plea); see also United States v. Cox, 923 F.2d 519, 524–26 (7th Cir. 1991); United States v.

O’Brien, 601 F.2d 1067, 1070 (9th Cir. 1979). For similar reasons, a plea of nolo contendere,

especially one where Nester denies elements of the charged offenses, diminishes the impact of

general deterrence. Accord United States v. H & M, Inc., 565 F. Supp. 1, 3 (M.D. Pa. 1982)

(“The court also concludes that accepting a nolo plea in this case would not serve as a deterrent

to antitrust activity.”). And while Nester may be deterred from future criminal activity by the

effects of punishment based on a nolo plea, his reluctance to admit guilt leaves the court

uncertain whether Nester will be tempted to engage in similar behavior if he is dissatisfied with

the results of a future election. This factor weighs against acceptance of a nolo contendere plea.

       The court also agrees with the government that this case is not one in which entry of a

nolo contendere plea would conserve judicial resources, as the court and the government have

already devoted significant resources to preparing the case for trial, and the government

represents its case should last no more than three days. Opp. at 7–8. In sum, Nester’s motion

appears to serve his personal rather than the public interest, and it does not appear that his

situation is extraordinary or that there are mitigating factors. The government’s opposition—



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itself a weighty consideration—compellingly argues that deterrence is not served by a nolo plea

and that the plea would not conserve significant resources.

                                        *       *         *

       For the foregoing reasons, Nester’s Motion for Change of Plea is DENIED. The parties

are ORDERED to confer and jointly propose three dates for trial.



Date: November 27, 2023

                                                 Tanya S. Chutkan
                                                 TANYA S. CHUTKAN
                                                 United States District Judge




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